          Case 1:18-cv-00183-DCN Document 4 Filed 04/30/18 Page 1 of 2




 Keely E. Duke
 ISB 6044; ked@dukescanlan.com
 Bryan A. Nickels
 ISB 6432; ban@dukescanlan.com
 Duke Scanlan & Hall, PLLC
 1087 W. River Street, Suite 300
 P.O. Box 7387
 Boise, ID 83707
 Telephone (208) 342-3310
 Facsimile (208) 342-3299
 Attorneys for Plaintiffs

                             UNITED STATES DISTRICT COURT

                               IN THE DISTRICT OF IDAHO

 SAINT ALPHONSUS HEALTH ALLIANCE,                 Case No. 18-183-REB
 INC. f/k/a ADVANTAGE CARE NETWORK,
 INC., an Idaho corporation, and SAINT
 ALPHONSUS HEALTH SYSTEM, INC. an                 CORPORATE DISCLOSURE
 Idaho corporation,                               STATEMENT PURSUANT TO FRCP
                                                  7.1
               Plaintiffs,
 v.

 CORIZON, LLC, f/k/a CORRECTIONAL
 MEDICAL SYSTEMS, INC., a Missouri
 limited liability company, and CORIZON
 HEALTH, INC., a Delaware corporation,

               Defendants.

       Saint Alphonsus Health Alliance Inc., fka Advantage Care Network, Inc. and Saint

Alphonsus Health System, Inc., all Idaho non-profit corporations, by and through their

undersigned counsel and pursuant to Federal Rule of Civil Procedure 7.1(a), submit this

corporate disclosure:

           •   Saint Alphonsus Health Alliance, Inc., is an Idaho non-profit corporation, of

               which Saint Alphonsus Regional Medical Center, Inc., an Idaho non-profit

               corporation, is the only member. There is no stock in Saint Alphonsus Health


CORPORATE DISCLOSURE STATEMENT PURSUANT TO FRCP 7.1 -1
      Case 1:18-cv-00183-DCN Document 4 Filed 04/30/18 Page 2 of 2




           Alliance, Inc., and, therefore, no publicly held corporation owns 10% or more of

           Saint Alphonsus Health Alliance, Inc.

       •   Saint Alphonsus Health System, Inc. is an Idaho non-profit corporation, of which

           Trinity Health Corporation, an Indiana non-profit corporation, is the only

           member. There is no stock in Saint Alphonsus Health System, Inc. and, therefore,

           no publicly held corporation owns 10% or more of Saint Alphonsus Health

           System, Inc.

    DATED this 30th day of April, 2018.

                                            DUKE SCANLAN & HALL, PLLC



                                            By/s/Keely E. Duke
                                               Keely E. Duke, Of the Firm
                                               Bryan A. Nickels, Of the Firm
                                                Attorneys for Plaintiffs




CORPORATE DISCLOSURE STATEMENT PURSUANT TO FRCP 7.1 -2
